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  CITY AND COUNTY OF HONOLULU
                   IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI‘I

   JOSHUA SPRIESTERSBACH,                  CIVIL NO. CV21-00456 LEK/RT
              Plaintiff,                   CERTIFICATE OF SERVICE
        vs.
                                           (RE: DEFENDANT CITY AND
   STATE OF HAWAI‘I, CITY AND              COUNTY OF HONOLULU’S
   COUNTY OF HONOLULU, OFFICER             RESPONSE TO PLAINTIFF’S
   ABRAHAM K. BRUHN,                       SECOND SET OF
   DEPARTMENT OF PUBLIC SAFETY,            INTERROGATORIES AND
   OFFICE OF THE PUBLIC DEFENDER,          REQUESTS FOR PRODUCTION OF
   NIETZSCHE LYNN TOLAN,                   DOCUMENTS TO DEFENDANT
   MICHELLE MURAOKA, LESLIE                CITY OF HONOLULU
   MALOIAN, JACQUELINE ESSER,
   JASON BAKER, MERLINDA GARMA,
                                           [Bates-stamped Document Nos.
   SETH PATEK, DR. JOHN COMPTON,
                                           C000185 – C001851])
   DR. MELISSA VARGO, DR. SHARON
   TISZA, HAWAI‘I STATE HOSPITAL,
   DR. ALLISON GARRETT, and
   JOHN/JANE DOES 1-20,
              Defendants.
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                            CERTIFICATE OF SERVICE

        I hereby certify that on May 20, 2022, a true and correct copy of

  DEFENDANT CITY AND COUNTY OF HONOLULU’S RESPONSE TO

  PLAINTIFF’S SECOND SET OF INTERROGATORIES AND REQUESTS FOR

  PRODUCTION OF DOCUMENTS TO DEFENDANT CITY OF HONOLULU

  [Bates-stamped Document Nos. C000185 – C001851]) was served on the

  following at their last-known address as shown below via U.S. Mail, postage

  prepaid:

        ALPHONSE A. GERHARDSTEIN, ESQ.                            Original + 1 Copy
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        Attorneys for Plaintiff
        JOSHUA SPRIESTERSBACH

        DATED: Honolulu, Hawai‘i, May 20, 2022.

                                   DANA M. O. VIOLA
                                   Corporation Counsel

                                   By: /s/ Richard D. Lewallen
                                       RICHARD D. LEWALLEN
                                       ROBERT M. KOHN
                                       Deputies Corporation Counsel

                                        Attorneys for Defendant
                                        CITY AND COUNTY OF HONOLULU




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